Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page1of 25
Pageid#: 1

CLERK'S OFFICE US. DIST. COURT |
District Judge . IN THE UNITED STATES DISTRICT COURT AT ROANOKE, VA

. : FILED
Assign. by Clerk's Oe. FOR THE WESTERN DISTRICT OF VIRGINIA

Oe. JAN 19 2022
Mag. Referral Judge A » DUDLEY, CLERK

Ey:
Assign. by Clerk’s Ofc. » b

Cercl ¢ CLERK
For use by Inmates filing a Complaint under

CIVIL RIGHTS ACT, 42 U.S.C. §1983 or BIVENS v. SIX UNKNOWN NAMED AGENTS

OF FED. BUREAU OF NARCOTICS, 403 U.S.C. §388 (1971)

Andeew fields 04595 -033

Plaintiff full name Inmate No.

Vv. CIVIL ACTION NO. ee CV Z {

(Assigned by Clerk’s Office)

Federal Bureau of FRISONS T.Al., WAedEN SHeEEVAL , AW Gojdey CAriAIN BAKER
Defendant(s) full name(s) m4tchell, Mullins, NEFF, Eling | GAytlenes, Sess ons, Fields, Sis AN, Nuese Sceit,
J .RoBeins Bellirg, G GARRETT, ‘ScHoLt, GilGeR, BAKER, BARKER, Fame Dickerson,

heutenant Lattin, ieutenan] liguten Hamil oN nie) AstER

KKKKKEKEKEKREEEKREREREREREREREREEREREREREREER ERE ER ER EEE EE REE EEE ER ERE ERE RREEREERER ERR ER ER ER ERRERER EER EE RERERERERE

*The mailing address you provide at A: “where are you now?” is where the court will send mail to you*

A. Where are you now? Facility and Mailing Address UN:teD States fenirtewtiagy. Ler
Ro. Box 305 JonesWille. VA 24263
B. Where did this action take place? _UN/teD States Cenitent vA Ry -\€é

C. Have you begun an action in state or federal court dealing with the same
facts involved in this complaint?

Yes x No

If your answer to A is Yes, answer the following:

1. Court: N/A

2. Case Number: N/A

D. Have you filed any grievances regarding the facts of this complaint?

Yes ™ No

1. If your answer is Yes, indicate the result:

Plainstife Je 1s ii imenknertt JANgeR, staf denst pRovide QHEVANGE LoRnts

2. If your answer is No, indicate why:

Page | of 23 pAgES
Case 7: 22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page 2 of 25
Pagelt 2

This} isA civil, Rights comelanteursuant to 42 Use = 133] o@

ENEwvs_V. Six UNKNowN Named Agents of fed Buecau of NaRcatics Hox |

usc § 388 (47!) heee glaint ET Alleges_A_ConspiRAcy to dee@ivE ONE

of constitutional Rights pursuant to a8 U.S< 31995, 178%

Conspi@hcy Siftues Via A mesting atthe Minds While Committino, |

Unlawtul Cevel And UNusuAL punishment Acts Such As :

Denying plamtiff Access to Inis legAL_mateeiAls, all Tampecing,,

Retaliatoey EXCESSIVE bopce. poe ENO AQING, IN pestected conduct of

Accessing the covets And athee outside peison Agencys toeehee.
While iN Ambulatoey RESTRAINTS, malicous pegs ecution AN And elaced

© IN punitive SEgRE gtthion wheet be. cecevel Falsified poidewh

Repeats And Subjected to Staged gladiAtog bight he@e in the

Uwited States eenitentiaey- Lee SpeciAL. Housing Unit

- Page 2eF 33 pAgES

Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page3of 25
Pageid#: 3

q@ Claim =o

A.) Retalitoay Adverse Acts of Ceuel And UNUSUAL QuNishMeNt
excessive toece toe TANGAQING,IN pretected Conduct

|. During the tAely paet of Novembee 2021 plaintiff wAs issued
what ts CAlled A high erat i le inmate movement pass handed out to
United States penitentiaey~ Lee inmatES Who Aeeives At the
pei son And has A histoey of 206 Code INcideNt Repaets foe
ENQAQING IN A SEXUAL Acts towards temple stat t.

8: ON Novembee q, 20Al plaintiff Responded to A letiee teom-the
G& Atto@ NEY GeneeaL of Cennsly vania Medes Shapies REQ ARdING
Anothee uneelAted CiviL complaint lodged At United States Panitentinay-
lewisbueG. CA dit fegant INstituhe n)

Aw Noyembee lo, 2e3| Whilé At \).S.P- Lee plaintit was leaving out of
his Assigned INshtut son Ho USING Unit IViNo Quaetees geing to lunch At
the P@ sons dinning hall And Farledto Reteieve his inmate Move ment
gass trom out of the Housing Units OFficees STAtiON UPON &<itiNe the
UNi+ Fog luveH.

Page 3 of 23 PAGES
Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page4of25

Pageid#: 4

3. ONCE plaintiff Finished €Ating luvch he stopped by Medicals

&.

EVENING Pil I-live hand-aut te gic K ve his medically pEeSCRbEd
meds And Retvened back to his Assigned insttutionaL Housing
Unit.

As elamtiff euteeed the Housing Unit he was Stopped At the

Housing Units front deog medal detectoe where the UNIt
OFficee confeented glaintFF About leaving his inmate

Move MENT PASS INSidé the Officees station And Net CARRYING rt
oN his peesen Whew leaving the housing Unit And going to <ert
lunch And to the Medical deenetment AS olaintiff had just
did .

At this point the Housing Unit Othcee immediatly pressed

And Activated the Emeegency duress bedy Alaem on his
hand-held RAdio CAYSINg EMERGENCY RESPONGE Offices Awd other
statf to eEpoet +o 8- HoUSING Unit iN A SMERAENGY RESee NCE
wheee plainthtt was then tsco¢ted tothe iwstitutions
leutenants Off (ce .

ONCE glaintiff Aggived At the lievtewants OWice he was Seated
before A lteutenant Necessaey, lieutenant DAVIS leutenand Hamilton
And A EscoPting Coegectional Officee Robbins

Page 4of a3 eAgES
©

Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page5of 25

ab

iG,

Pageid#: 5

Offi cee Robbins began inte RAQATING plaintiff About the impeetance
of Not leaving out ot his Assigned wvstifutionaL Housing Unit And
+RAVE| ING About wrthayt his inmate MovemeNt PASS on his eEeseN

Prainhifh iN- RETURN explaned to Officeg Robb ins AS they reHected

back over the Rules of the Inmate Mevement pass that he (elaintiS€)

had just BEEN placed on the INMATE MovemeNT PASS And WAS NEW
+o it And by Accident walked out of the Housing Unit Foe lund

And Foeget to Refpieve tt feom out of the OFficces Station.

_ Atthis eeint Otficee Robbins bEQAN te Speak iN A IRATE tone And

Fashion at Which point levdenant Davis Rudly inteeguoted And sAid td
pales ff "ulby Age you EVEN TAIKing ¢ r And elainfitf stated 1N- Reluen

" Because TAM A MAN” And then plaintiff asked licutenan-Davis
Why ARE You Falking P

fh this point lieutenant Hacidhton intereupted And Aid is ARE
you dis eespecting staff , ” plaintif Eten stated” Lam Not
disRespEct ing stadt And then lieutenant Davis § SA id "You just
tiled this INShtuhons PRogeAm Awd Ad this point "teu te want Hamilion
said Alowd" Take him to the teap | Get his head Right | Clainh tf then

said I havent dene Anything te ge to +hE hele (S.H.u)

Pane 5 of 23 pAgES
Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page 6of 25

 .

[d..

IZ

at

Pageid#: 6

Ad this goitt ofFiceg Robbins SAVE eiaintiff A dieect oedee to Stand
ue And place his hands onthe wall And elaintift compligd. Oficeg
Robbins began to pat SeagcH plaintiCt And discovered that elaintift
had tive legal decu ments inside his butter up Khaki persen shigt.
that Ve was WAREING Along with planitiffs peesceiption LYE GIASSES ,

Officeg Robbins Removed the legal papees At which point Plain kit

began te &Xxplan what thus pagees Whee And that+they whee vot
conten band As _Ofticees Robbins quickly elaced hand CuFfs onl plaintiff

As i€ he wasnt listening to eintiff, [Plaintiff nevee Recé Wed tnESE

légal documents back) Noe did he have his PERSCAI o*nonl glASSEs REtuRNEd-

Officeg Robbins Escegted elaintitt towaeds the Peont zxit deog of the _
lieutenants Office Wheee plaintifts shoes wheee Sifing on the
Fipor As he was teld te take them off upon EntEe@ing the hevtenants

n}

Office AUeino the ped senech [Chain hf Nevee Recewed his Shoe back |

é

OFiceeRobbens walked plaintiff} outof the lieutenants office
Net Q)VINg elaint ff the appoetuni ty to eut his Shoes back On And
walked elainht$ out into the Main Coreideg And A@cundthe CoRNER.

Page & of 23 PAQES
Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page 7 of 25

Pageid#: 7
Cost ~ iNCidENt of EXCESSIVE fc]

15, ONcE plaintiff was escoeted \ust Agound the CeRneg of the licutewamts
Office plaintiff Remembees Slightly Glancing fowaeds his Right
Shouldee Curious As to the digection he was walking Q oIND, oS)
Awd before he could focus back Agound Steaight Ahead’ Oicee
Robbins began punching elaintiff in the Lace with closed fists
Repeatedly until elaintitf decpeed tothe Flooe where he was Stomped
by steel toe beats , Kicked And punched in the face Repettedly by
Officer Robbins And athea UNKNowN Officegs UNHL he semi-Fell
UNCONs ious .

Ib. GaintiFf Asserts that oncé he REghined CoNSUOYSNESS All he
Could REmembe seeing was A Mks.Hall As he was being glaced
‘iN what Is CAlled A peo steykee wheel chaie And EScokted tothe
Seecial Housing ONit Plaintiff WAS lateg Weitten up on A falsified
Incident REPORF (elen SE SEE Exhibit A_)(eage 23)

Page ect 23 PAGES
Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page 8 of 25

Pageid#: 8
Fiocte Excess Ve toece Incident in Application of Ambulatoey
ResteAints

17. Once plaintiFE Aeeived iN the SpeciAL Housing Unit he was elactd
IN A OBseevation Celi by (S.4.U) lieutenant (Vullins Whe was
Acco meANied by Officee Neff, Of ficee GayHeaer, OFficee Fields
OFficee Mitchell , Of ficeg Cwig And otheg John Nee OHicees
Wheee plaintiff WAS cuested, pusHed Reughfully And sheved Yack fiest
Rammed inte the wall. Thus SHAR then exted-the Cell.

ig. Aftee plain hE was Secueed inside the OBseevation TANK toe About
Ge) minutes A female officee" CMs. Mi tehel|) walked ovee to
she Opse@yation cell And took A look inside Awdthen walked ofe€
towaeds the Officers Station contol Bubble And Yelled out in A
soft spoken fone” We oct A boner ! inmate bields is in the

ObseRvahon tank mastekb ating While iN Am bulateey Restenints.

i9, ft this peice CIAINKTE. OBseeved l(eutenant Mullins exit his
Office And SignAled QIVING oedées to Al( (s.H-u) of Ficegs As +hey
gatheeed Agound in A huddle . One OfFicee quic Hy grabbed A bigg
heavey Fipeeglass (e lex - glass) secveity Shield And thus officers
walked towaedsthe Obs ERVATION CEll WhERE elaintift Was be wg held in
secured Ambu lato@y Resteaints And leg RestRants Around his ANKIES.

fA%e & of 23 eAqES
Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page9Qof25
Pageid#: 9

&
ac. ft this point All of thus OFFiceRs gathe eed outsiclé the font
enteance of plaintitfs’ Obseevatian cell cugsing threatening Ard _
CAllivg elaintiff ego found Names As _evte nant Mullivs SheusEd to
el Aintitf A cligect oedee to face the back wall And get cowN ON his
Kwe€s And dent look back atthem

aj 2 As these Staff gushed in plain gifh could Hea Someone YE VERY
loudly" Stay down | Awd All of A sudden’ Boom glaintiff could hete
boois Stomp ING inn As if lots of of ficees Rushed towaeds —__
plainht£ All At once And Slammed the secvetty Shield inte the back
| of plaintiffs’ head Ramming elainttts Face Inte the wall At Sudden
Gv Impact Causing his Nose find teeth to bang inte the wal] Knocking
Plaintiffs FRent tooth loosé .

2a. fs glainhtfs Face Was Smashed ue Against the wall with &XtReme
presser he was being punched in the Face on the left side of his
Face by officees Cwing with clutched Fists And eunched inthe -
Face with clutched Fists by Offices Ne tf on the Right Side ot his

Yace

3. Thus OFficees began CURSING And Yelling At elainsti ff “StatinG
So You like Fo jack Your dick P Well+this is foe OFficee Mitchell
And both Oficees oN CAch side (left And Right) OF ficee Nett
Ana Office e Gwing EGAN kweeling elainhtf inthe Gaon AREA

Repentedly jaed.

Page Vof a3 eAog S
2 ag Signi i ane a SRS Lea

e

Case 7:22-cv-00021-EKD-JCH Documenti Filed 01/19/22 Page 10 of 25
Pageid#: 10

ay. At this point licutenant Mullins untasined-the hand-eestednts
Awd tesk the black Secueity box of in ede Q to glace them back
on tightee Andthen lieutenant Mullins Attempted To Raise
the belly chain high Abeve Plantiffs belly and waistline but it
Wouldut Ad\us+ peo péely "so thus lieutenant Mullins began +o
pull tt tightly As Possible Agound plainhffs waistline As he
Stated , " Tam Joing to Kill you “ Tam Going to let You out of
+hesté hashesieke to WAIIC Agound And then Lam aeing to fuck
You up AgAIN Awd put you back inthem.

35. [licubenwanet Mullins itsemed plaintiff that he would Remain jN-the
Ambulate ey Restenints foe a a) houg time feame And As llevhenwan+
iM ullins WAS SPEAKING +o plant Ff Anothe & Of Ficee was twisting
elaintitFs Right leg Apeling €xteeme peessee As if the Officee
WAS teing te beeaK plaintiffs Ankle And-then Anothee Offer
began kicking plaintiff in the hamste, NgS with Stee| tee boots
Repeatedly hagd As plaintiff ResumEd INA Kveeling Resiti on ,

26. lastly +he OH icee holding the Secug) ty Shield Rammed the back of
plaintiffs heAd withthe Shield CAUSING Plaintiffs Face to Smash
into the wall at full Imp Act And Al) thus OfFicees ited the
Observation TANK.

aoe 10 of 23 vAqES
c

Pageid#: 11 |

Secon - AmbulAtogy Kestraint @) houk CHeck

Case 7-22-cv-00021-EKD-JCH Documenti_ Filed 01/19/22 Page of 25

27, Two houes létee Special Housing Unit Officers begin to eceform

aS -

24.

30.

Jl:

Avsther (a) hour Resteamt check ofthe Ambulatory Restedints
platif was SEcUREd IN,

lieutenant Mullins Accompanied by OtficeR Mitchell OtFicee Ne FF,
Oficee Gay Heart , OFFicEg Fields OFFICER Ling, Nuese Scatt Aud
thee unidentified John Doe _Officegs gathered outside

plaintiffs Obseevaton Cel As l(cutenant Mullis gave glaintift
Adieect oedeR To Face the WAI And Get ON his Knees,

As olacntith stared At the wall he listened ds Otticees gAtheeed
IN what Appeared to Sound like A TRAIN foemation with the WHicee
in the feont of the live holding the heavey plexi-glass Shield:

As the doo opened Wider thus Officers Sound As \f-they eaetally
RAN towneds e/Aintitt And Rammed the back of planitifts head
With the Shield ¢Ausing Plaintiffs’ Face to Collide INto-the will
At Full impact.

licdtenwant Mullins Checkedthe REsteaints And just As he biwished
A Nues& Scott began gaAbbing plaintiffs’ Tingees fo RUN A Medical
blood tempeRtuee Asses ment.

face i(of 23 pPAIES
Case 7:22-cv-00021-EKD-JCH Documenti1 Filed 01/19/22 Page 12 of 25

3a.

md

Yt.

Pageid#: 12

As Nues€ Seat begAN placing the tempeetuee check menito®

on glantiffs tingee Nuese Scatt began bending plant fs
Tingees backwards As if he was teing te beeak them while
“Stating, You told mE oN your WAY over here to the 6.4) that
the bevise on your Right ARM was A NEw beuise feenthis Recent
Incident And SiNcE You lied te me Youk Not getting Your gills,

As Nuese Sectt Finda liee the Medical. Asse sMENTANctHhER
OFF iceg WAS bendina, elamtitte hands backwaeds As if he was
teing to beeak them At this paint STAFF Cuesed plant! meee
then &xited the Obseevation cell And Plaintiffs attempt to _
Regoet sevee teAuma head Aches And Swelling Agound his
Head Wheee to No AVAIL

E _
Thiad—Ambulatoay Rested t Check And |
LIN REASONAblE Amounts of EXCESSIVE Fogce

L il
Anathe @ (a)houe time teame_Alaesed sincesthe. last Resteaint _
check which meant it was time fog Anethee Resterint
check.

Page 12 cf 33 PAQES
sig a a a an

Case 7:22-cv-00021-EKD-JCH Documenti1 Filed 01/19/22 Page 13 of 25
Pageid#: 13

3S. At this point A leutenant Niche lous, OFficee Dickenson
OF cee Gaeactt OFF ice’ Scholl, find ailen eed
Jchn Doe Off icens qAtheeed A the Feontdoog of the
Obseevation cell As lievtenant Nicholous gave plainttt A
direct agdeeto tuen And tice the wAll And kwee| down :

ae. As plaingitl complied totus oedees plaintiff was Se
teamdtized with having his head And face banged into the
WALL this time Aeound he decided to tilt his head to he
left Foe comFoet And to eeevent Fem having his Neck +o
snag becke,

37. As the Obseewthion cell dooe sqweeked OPEN plaintiff could
heae the Officees Keys And boots RAddle up to FAKE Chagge
towaeds elantiff inv a Tast walking eACE ANd At this Point
plait (E¢ head was banged with the Neavey Plexio\ass Shield to
wheee his face Rammed into the wall And wAs pent UP AQAINST

the wall whilethe OF FicEee holding the Shield placed lots of

WE ight onthe Shield handles in cede? foe the Shicldto catt Into
the back of plaintiffs Knees while plamhth Remained the
Kneeling position CAUSING ShagP PAIN IN the bACK of plait tts
KNEES And UpeER CAIF Aecns of his legs-

Page 13 of 33 PAQES
©

Case 7:22-cv-00021-EKD-JCH Documenti1 Filed 01/19/22 Page 14 of 25

39.

$7.

4o.

Pageid#: 14

At this pont A lieutenant Nichelous begante speak +o plaintiffs
IN A Ange eed theEATENING tone, As bevtenant Nic heleus
secke in A low whisge ping theeatening tone Questioning
elawtitt About the masteebation on female staff Accusation
Feom tAelice  twe officees holding down each of plaintiffs.
Kee ling legs bEgAN to twist his feet backwaeds As \f to
tey And beeAKthem.

lieutenant Nichelous Made meee theeatsto elaintiCf About Killing
plaintitt if plaintiff exposed his eENIs to Any other female staff
And Assueed plaintiff that rt was going to be A long Night for
plaintift dueing the (24) houg AmbulAte ey Resteaint p€Riod ,A+this
moment leutenant Nicholous And his Oficees &xited the
Obseevathon cell.

FourtH - Ambulato ay Resteaint theck

fs Another (Q)hove time teame went by. levtenant Nicholovs
REetvened to the ObseevAtion cell AccomPAniéd by Office @ Gaegett
OfFicee Schell dfficee Dic kewson And othe Unidentified Johw DoE

Of icegs Weutenant Nicholous ofve ClAINtEE A digect ogdeR to get on
his Knees And face the wall At which point plaintiffs face. And Head
Was banged twto the wall feom behind * heuteNand Nichelous HEN

Page I4 oF 23 gAgES
Case 7:22-cv-00021-EKD-JCH Documenti_ Filed 01/19/22 Page 15 of 25
Pageid#: 15

41. began te Kick the back of plamtiffs’ thighs exteemly haed'
~« plaintiff was thee Mte Ned Moke ANd +thEN Thus Officees exited the
ObseevAtion TANK .
r 7

Fish - Ambu lakeay Kes fend CHeeKk And UNREASONAbIE
Amounts of CESSIVE Foect&

L

42. As Anothee @)houes’ Alaesed t+ was yet Again thetime toe
Avethee hoeeit wing Resteaint check As the OFFicees week shift
hdd changed And plaintitl Noticed Alicutenant Lattin “UE ame, spelled
CoRge ctly "Accompanied by OtFicee Bakee Office Baekee , Office

© GilBer+ Officer Sloan Office Faemee, And other UNidentified
John Doe Offices.

43. Thus staff gathered outside the Obseevation Cell As léute nant
L Aitind gave plaintiff A digect order to tace the wall And kneel
Howe , _elaistiff complied Ard AgAIn plaintiffs’ head wAs pushed
ve Agfinst the WALL Feom behind by the Officer CARE ING thE
glexiglass Shield but to elamtiffs suegeise the impact ot bogce —
WAsNt AS Vie lently Aeelied causing his hace to haeshly Collide
INto the wallas usual,

Pat '5 cf 23 pages
Case iho2- -Cv-00021-EKD-JCH Document 1 Filed 01/19/22 Page 16 of 25

Pageid#: 16

ae mcr ae Teste

oeniti

eu its licute want Lattin begante Speak “one of the Oficees.

Legal te step on plainht fs’ Rg ht boot With Some Steel tog beets

blac vg Alot of weight with. pRESSER while +wis LING his Stee deepe&

inte the bottom of plaintiffs’ foot As if tis Oficeg was Stomeing
but A cigheete butt on the geod .

t

45.

f lainttiSt Received theeals of being placed INSidE A (4) point
Resteain CEI location that didnt have A CAameeA And was told in

se Many woeds that if he (plaints). lihgated on these Issues

one of the female staff weuld lie on him About expesin& his

“PENIS IN hee View Avd-thect elaintiEf would beplacedintheW)pont |

Restenint Cell Next time wheee he would get the Shit beat cut of.

S

han. Ay this M0 ment leute nant Lattin And thus OH icees EXited
thre Obseavtion Cell.

:

O1K+ h- Ambulatsey Resteant Uh eck

= anand gs

4. llieukewant Lattin Afficee Gilbeet, OF icee Bakeg Otficeg Barker,

Officer Sloan And othe’ uniPents tied John Dee Officegs Retuened -

to the Sbsee@vatian Cel peetoem Anethee(Qdheue Pesteam+ Check

ONce thus staff grtheeed At the dooe ‘lieutenant Lattin aavé

lee tenon vee als,

plaititt a digect cede to tuevAcound And tace the willl avd
‘Kveel down,

{
5
f

fo age I6 of 33 PAGES

- Case 7:22-cv-00021-EKD-JCH Document1 Filed 01/19/22 Page17 of 25
Pageid#: 17

©

47. Once lieutenant LAECIN ANd thus statt enteeed the Obseavation cel!
_bfficeg Gilbert began talking to QlAINHEL AS keutewant LAN WP
Standing onthe back of plaintiffs CAlfs And bouncing up And down"

on them.

ye. Oficee Gilbert beganto Explan fo plaintiff that he looked plawtifts
Files ue And that glaintiff had A history of Code 265 ENGAQING IN A
Sexual Aets Andthen CAlled elainh ft A sexoffendee, these OHicces
made A few meee detth theeats fowaeds plain htt while levtenant
Lafliv continued standing And bouncing on the back of glaintif fs
calf s while glawt ft was kneeling facéingthe wall Awd Shoetly

© Aftee waeds leutenant LAFIN And-thesgeé Oficees extted the

Observation cell.

Seventh- Ambulakoey Restenint Check

49. Duein © the Fal.) houes of elantitts’ (a4) houe Ambulatoey
eesteaint held MGRNING shitt oficees Removed elaintit £ Feom

thus belly chaiN With black secueity box Attached ANd leg Restea ints
find Secueed plaintiff inv cel! A-lo7.( A Regula Cell) with Ne
F uethee (ncident-

fage (2 Ff a3 cages
Case 7:22-cv-00021-EKD-JCH Documenti1 Filed 01/19/22 Page 18 of 25
vue 18
Conclusion

u

Bo. Plaintifl Avees thatthee tntiee(24) hour time teame hE
Remained IN the Am bulAtoey REStRAINtS hE wAs subjected to
UNREASGNAbDIE Amounts of EXCESSIVE foece, death theeats :
And toRcheR Which cAused Claintif eghysicAL And EMotionAL
discomfort, Psycolo gic AL iMpPAIRAMENT, Sever Head AchES
With SswellinG Aeound his héAd And overall bedy PAIN feam
heéAd to tog feom which he was denied medical teEAtment,

Claim I

@) DENYiNg ONE the Kight to Seek Redeeéss Viqthe US.P- Lee
GEIEVANCE Peo ceeduee , DenyinG plaintiff Access to his legal
materials Aud legal foams PLRA) handed out by the institution,
And Mail Misha nding And delayed TRANstEQNa .

C

I. Finally , @lamtis€ Asseets that his Unit Supeevisaes contteibuted

+heie paet IN-thus CONS PIRACY ta depeive elaintift of Constitutional
Rights by RefusinG to gespond to plaintiffs’ Action Requests _
to staf} Wheeers All Special Housing Unit iNmates must
ties go though their Unit SuUpEeviSoRs vin Special Requests
to staff glacing thus Stat on Notice that they have A PENdING

© IEQAL CASE And Needs to be given\issued his legal Maherals
peoeeety fe0m-the SeeciAL Housing Onits Peo pekty OFF iceR Bol ling

Cage \e of Qe PAGES
Case 7:22-cv-00021-EKD-JCH Documenti Filed 01/19/22

Page 19 of 25
Pageid#: 19

2. Craintift Alleges that he has seoken with he SH v) property
officer SEVERAL times About TRing te Reteieve ThE NECESSARY
legal documents feem out of his Stoaed eRopeRty bend Qut thus
(SH-v) eropeety officer tE\IS elainh FF that hE has went ae
Far As EmAiling elaihtfs unit SUPERVISORS Regneding glantift
having, A open CASE Find Needing his [EqaL MAtERAIS fo lini gate
lis Couet CASES but (S:H.U) peopeety oF ficeR Bolling AoeBNT
nave AINY RESPONCES back feom plaintiffs Nit SUPERVISORS
REgARAING, elainti fF NEEdNG his legal matieeals to MEET
legal AeA INES Plaines F is Also being, dened his PERSCRIPhiON EYE ginsses |

© 2 Plaintitt Alse Alleges that As WE continved to Stoge We Bolling
At his cell doog inquieing Absut DEING issued his legal documents
gacge ety oH iceR Bolling Would then SeeAk with Plast Fs
celimate in hinted codes And ApPARENTIY GAVE Guess TURES
As fa place 4 hit on elAINh Tf by INStigAting f\ Staged aladiAtog
Vight between elantiff And his CEHMAIE oN Novembegaa 20a
Where AS plawstitts CENMATE Took AA SWING At glainctit f foe No ApeARENT.
REASON Winch lead to the both of them qetting PEPPER SPRAYEd
Awd elaintiF wAS then WeHteN Up by property othicée Bolling
on A Falsitied iNcidENT REgoeTt SAYING e\AINHEF int AtEd thé fignt
‘awa was the fgg REesseR whom fissautted his cell mate (see Exhibit 8)

(ene 28)

Cage 19 of 33 PAE 5
©

5. Lastly, Waeden oteeeVvAL -the Warden At US.?- Lee

Case 7:22-cv-00021-EKD-JCH Documenti_ Filed 01/19/22 Page 20 of 25

Pageid#: 20

4. Piaintti€f alleges that his Unit Supcewisoes Mas-Hughes And

ile. lastee dant Allow plaintitt +e oppoktunity To Re teeve
GRIEVANCE foems o@ AdministeAtive Remedies TC which

i6 hindering his Right to File comelaints And Access the.
courts And other Agenciés. Alsd delayed fennsFexing Jon punitive SEQ,

)
AW Geldey-the Asseciate Waeden at US.P-Lee, And

Captain Bakee -the CAetaIN At US? Lé€e " All have been

placed en Neticé befece and Afteathe Claims in elaintit fs‘
complaint has Aeise.d And Allthee Above Mentioned US.P-LEE
staSf heecins conduct via Veebal complaints, Adaunisteative
kemedies , katt Aftee incident Kepoets And Meme kANA ums

And have Failed to eactoe coegect theie <+aPF \emeleyees
unlawful Actions, Noe lave Waeden Steeeval made ANY
Attempts to thus pRovide TRAINING to thus Fedeeal Buecau ot
eaisons Employees.

PagE ae of 33 PAGES
Case 7:22-cv-00021-EKD-JCH Documenti Filed 01/19/22 Page 21 of 25
Pageid#: 21

E. Statement of Claim(s): State briefly the facts in this complaint. Describe what
_ action(s) each defendant took in violation of your federal rights and include the
relevant dates and places. Do not give any legal arguments or cite any cases
or statutes. If necessary, you may attach additional page(s). Please write
. legibly.
Claim #1 — Supporting Facts — Briefly tell your story without citing cases or law:
Cevel And Ususurl fonishmen{-Retalitoey Acts ok Excessive tech
Fo€ ENQAgING IN PRatEcted Co Nelvet(otense SEE. Unim=) best Second
Feuth Fith And FourRtHteeth Ammenidenenst Rights VialAtionNs.

Claim #2 — Supporting Facts — Briefly tell your story without citing cases or law:

Denying one the Right to Seek Redeess Vin the USP-Lée qeievance
eeoceted vee | Denying Piainh&t Access to his legal mattels And

legal toems ( Please See Unie 2) Fest Second fouth Fh Lovet teeth -
Const }ienAl Rights Via lAtionS J

F. State what relief you seek from the Court. Make no legal arguments and cite no
cases or statutes. Diahft 1s SEEKNo #15, 600 000 And No tents

IN bompensAtaRY damages fe Inj lueies ‘sustained And immediate Re least.
Fram 6.0.8 Cusiudt \
G. If this case goes to trial do you request atrial byjury? Yes

No

H. If lam released or transferred, | understand it is my responsibility to immediately
notify the court in writing of any change of address after | have been released or
transferred or my case may be dismissed.

- |) Tez
DATED: JAN: 7, 2089. SIGNATURE: dod al

VERIFICATION: .

I, And cew Tie Id oH , state that | am the plaintiff in this action and|
know the content of the above complaint; that it is true of my own knowledge, except as to those
matters that are stated to be based on information and belief, and as to those matters, | believe
them to be true. | further state that | believe the factual assertations are sufficient to support a
claim of violation of constitutional rights. Further, | verify that | am aware of the provisions set
forth in 28 U.S.C. §1915 that prohibit an inmate from filing a civil action or appeal, if the prisoner
has, on three or more occasions, while incarcerated brought an action or appeal in federal court
that is dismissed on the grounds that it was frivolous, malicious, or failed to state a claim upon
which relief may be granted, unless the prisoner is imminent danger of serious physical injury. |
understand that if this complaint is dismissed on any of the above grounds, | may be prohibited
from filing any future actions without the pre-payment of the filing fees. | declare under penalty of
perjury the foregoing to be true and correct.

. =—_
DATED: JAN +7, AR SIGNATURE: Jpdraa tb

Cao 2) of a3 PAGBS

Case 7:22-cv-00021-EKD-JCH Documenti1 Filed 01/19/22 Page 22 of 25 /06
— Pageid#: 22

BP-A0288 INCIDENT REPORT

Dept. of Justice / Federal Bureau of Prisons \

Part I - Incident Report

1. Institution: LEE USP Incident Report Number: 3569802
2. Inmate's Name 3. Register Number| 4. Date of Incident 5. Time
FIELDS, ANDREW 04595-033 11-22-2021 0710 hrs
6. Place of Incident . 7. Assignment 8. Unit
SHU CELL #106 SHU"
9, Incident 10. Prohibited Act Code(s)
224 —- ASSAULTING W/O SERIOUS INJURY. 307 —- REFUSING TO 224 307
OBEY AN ORDER.

11. Description Of Incident
(Date: 11-22-2021 Time: O710hrs staff became aware of incident)

On November 22,2021 at 7:10AM, 1 was assisting other staff members in feeding inmates for the
morning meal. Upon arrival to cell # 106 | saw two inmates standing in the cell. Cell # 106.is assigned
to Inmate Fields, Andrew # 04595-033 and Inmate Aguilar, Kevin # 45730-007. Inmate Fields was
standing at the shower when | arrived to the cell and Inmate Aguilar was standing at the cell door. As
| placed the trays on the tray slot, Inmate Fields came up behind inmate Aguilar and punched him in
the back of the head with a closed fist. At this time, Inmate Aguilar fell to the ground and Inmate
Field continued to hit Inmate Aguilar in the head and upper body area. Repeated direct orders to stop
fighting were ignored and responding staff delivered O.C. spray in order to gain control of the
situation. Once both inmates complied with orders to submit to hand restraints, the cell door was
opened and both inmates were taken to SHU ‘Holding cells for decontamination. | have no injuries to

report.
‘
+

12. Typed Name/Signature of Reporting Employee 13. Date And Time

J Bolling 11-22-2021 0733 hrs
14. Incident Report Delivered to Above Inmate By 15. Date Report 16. Time Report

(Type .Name/Signature) Delivered Delivered

ZE< LyL2J A | 75 ép9

The Government Paperwork Elimination Act {GPEA) of 1998 authorized Federal Agencies the use of

electronic forms, electronic filing, and electronic signatures to conduct office business.

Prescribed by P5270 Replaces BP-S288.052

t Cras Jac 22 PACES : " ~

- _ Case 7:22-cv-00021-EKD-JCH Document1 Filed 04/ Page 23 of 25
~ Pageid#: 23 ] ()

BP-A0288 INCIDENT REPORT

Dept. of Justice / Federal Bureau of Prisons

A
Part I - Incident Report

1. Institution: LEE USP Incident Report Number: 3566231
2. Inmate's Name 3. Register Number| 4. Date of Incident, 5. Time

FIELDS, ANDREW 04595-033 11-10-2021 ° 1147 hrs
6. Place, of Incident 7. Assignment 8. Unit

Main Corridor SHU UNASSG B ,
9, Incident 10, Prohibited Act Code(s)

224 -- ASSAULTING W/O SERIOUS INJURY (Attempting). 224A

ff

11. Description Of Incident
(Date: 11-10-2021 Time: 1147hrs staff became aware of incident)

On Wednesday, November 10, 2021 at approximately 11:47am, upon escorting inmate Fields, Andrew
# 04595-033 to the Special Housing Unit inmate Fields turned towards me and attempted to strike me
“with his head. Specifically, upon escorting inmate Fields through the main corridor towards the
special housing unit, inmate Fields made several threats towards myself and escorting staff. Inmate
Fields states that This is bullshit, don t worry I'm gonna get mine, I'm gonna fuck you up at this
moment inmate fields turned towards me and attempted to strike me with his head. I then
immediately placed inmate Fields on the ground and assisted escorting staff in the application of
hand and leg restraints. After calling for assistance via radio | assisted responding staff in placing
inmate Fields in the Pro Stryker Straint chair and then escorted him to the special housing unit. Once
in the special housing unit | assisted staff in the application of ambulatory restraint for inmate Fields.
Specifically | controlled the right upper appendage during the application of restraints. | have no loss
' of equipment or injuries to report. .

s

12. Typed Name/Signature of Reporting Employee 13. Date And Time
J Robbins 41-10-2021 1241 hrs

14. Incident Report Delivered to Above Inmate By 15. Date Report 16. Time Report

(Type Name/Signature) eliyered Delivered
a Vii lis \ pas

+

The Government Paperwork Elimination Act (GPEA) of 1998 authorized Federal Agencies the use of
electronic forms, electronic filing, and electronic signatures to conduct office business.

Prescribed by P5270 . Replaces BP-S288.052

Onan azeok 23 pants

CIO ee ort amu 2? ec ca

. WM

— Jonesville VA 24243 |
7021 14970 000]

Legal Mal

jg USES I70l 1702 fe
CeyminaL Penalt Invelke S

Foe INtee eeANce
a ae ee

SeFOREVER USA

|

, 2949 6936

OREVER USA

SA

Inited States Disteict
ganklin Road, SW, Suite 54°
RoANoKe, VA AHoi}- 2208

FOREVER U

